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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        ) CR. NO. 2:09-CR-0356 LKK
                                     )
12                  Plaintiff,       ) ORDER RE:
               v.                    ) GOVERNMENT’S MOTION TO DISMISS AS
13                                   ) TO DEFENDANT VELARDE ROCHIN
                                     )
14   GUADALUPE ALBERTO VELARDE
     ROCHIN, aka Juan Jose Padilla, )
                                     )
15                                   )
                    Defendant.
                                     )
16   _______________________________
17
18
19        Pursuant to Rule 48(a) of the Federal Rules of Criminal
20   Procedure, the United States moves the Court for an order dismissing
21   without prejudice the charges against Guadalupe Alberto Velarde
22   Rochin (also known as Juan Jose Padilla) in the indictment and
23   superseding indictment.
24        The government bases this motion on evidence and information
25   obtained post-indictment.    Based on the results of investigation of
26   information provided by defense counsel, the government believes
27   that it would not be able to sustain its burden of proof beyond a
28   reasonable doubt against Velarde Rochin if this matter proceeded to

     Government’s Motion to Dismiss       1
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 1   trial.
 2        The government therefore requests that the Court grant its
 3   motion to dismiss charges against Velarde Rochin.
 4
 5                                               Respectfully submitted,
 6                                               BENJAMIN B. WAGNER
                                                 United States Attorney
 7
 8   DATED: September 20, 2010             By: /s/ Todd D. Leras
                                               TODD D. LERAS
 9                                             Assistant U.S. Attorney
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     Government’s Motion to Dismiss          2
           Case 2:09-cr-00356-LKK Document 57 Filed 09/21/10 Page 3 of 3


 1
 2                                      ORDER
 3        Based on the government’s motion, it is hereby ordered that the
 4   charges in the indictment and superseding indictment against
 5   defendant Guadalupe Alberto Velarde Rochin (also known as Juan Jose
 6   Padilla) are dismissed without prejudice.
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 8   DATED: September 21, 2010
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     Government’s Motion to Dismiss       3
